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         [NOT YET SCHEDULED FOR ORAL ARGUMENT]

          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT


 META PLATFORMS, INC.,
 a corporation,

           Plaintiff-Appellant,                       No. 24-5054

                     v.

 FEDERAL TRADE COMMISSION, et al.,

           Defendants-Appellees.


 DEFENDANTS-APPELLEES’ OPPOSITION TO MOTION FOR
          INJUNCTION PENDING APPEAL

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 APPELLEES’ CERTIFICATE AS TO PARTIES, RULINGS, AND
                  RELATED CASES

      Pursuant to D.C. Circuit Rule 28(a)(1), the undersigned counsel

certifies as follows:

      A.    Parties and Amici

      Plaintiff-appellant is Meta Platforms, Inc. Defendants-appellees

are the Federal Trade Commission and Lina M. Khan, Rebecca K.

Slaughter, and Alvaro Bedoya, in their official capacities as

Commissioners of the Federal Trade Commission.

      B.    Rulings Under Review

      Plaintiff-appellant appeals from the memorandum and order

issued March 14, 2024, by the Hon. Randolph D. Moss (D.D.C. Case No.

1:34-cv-03562), denying plaintiff-appellant’s motion for a preliminary

injunction and denying defendants-appellees’ motion to dismiss.

      C.    Related Cases

      In United States v. Facebook, Inc., No. 23-5280 (D.C. Cir.), this

Court recently denied plaintiff-appellant’s motion for an injunction

pending appeal with respect to the same administrative proceeding that

is at issue in this case. Merits briefing is ongoing.

                                             /s/ Anna M. Stapleton
                                            Anna M. Stapleton
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FTC                        Federal Trade Commission




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                           INTRODUCTION

     The Federal Trade Commission (FTC or Commission) initiated an

administrative proceeding based on indications that Meta Platforms,

Inc. (Meta) may have violated a prior Commission order, and the rights

of its customers, by failing to implement necessary privacy protections.

The Commission has identified the evidence giving rise to its concerns

and has offered Meta the opportunity to offer contrary evidence and to

otherwise explain why the Commission should not order Meta to

implement additional safeguards. The Commission has not reached any

final determination and is awaiting Meta’s response. But rather than

avail itself of the opportunity to be heard, Meta has resorted to

preemptive litigation in an effort to have the Commission proceeding

enjoined.

     Meta launched a two-pronged attack, asking two separate district

courts to enjoin the Commission from determining whether additional

privacy protections are warranted. Both attempts were unsuccessful

and both have been appealed to this Court. When the first of these

appeals reached this Court, United States v. Facebook, Inc., No. 23-5280

(D.C. Cir. filed Nov. 29, 2023), Meta filed an unsuccessful motion for an
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injunction pending appeal. In rejecting that motion, the Court

concluded (among other things) that Meta had not shown that it “will be

irreparably harmed by participating” in the Commission proceeding,

and that the Commission’s proceeding “implicate[s] important public

interests” that were not “outweighed by any cognizable harm to [Meta]

or the public from moving forward with the [Commission] proceeding

during the pendency” of Meta’s appeal. Order at 1, 2, Facebook, Inc.,

No. 23-5280 (Mar. 12, 2024) (Facebook Order).

     Meta now seeks the same relief in this case (its second appeal).

In so doing, Meta does not acknowledge, let alone attempt to

distinguish, this Court’s prior determination that Meta had failed to

show that the Commission’s proceeding should be enjoined. Meta’s

apparent contention, however, is that the irreparable harm calculus is

different here because this case, unlike the prior appeal, involves a grab

bag of constitutional challenges to the Commission’s structure. But

Meta is incorrect in suggesting that the bare assertion of constitutional

challenges to an agency’s authority to act obviates the need to establish

irreparable harm. And absent such a rule, Meta’s claim of irreparable




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harm is as deficient here as it was in the context of its prior

unsuccessful motion.

     Moreover, Meta’s motion should be denied for the separate reason

that it has shown no likelihood of success on any of its assorted

constitutional challenges. Each of Meta’s claims—brought under

Articles I, II, and III of the Constitution and the Fifth and Seventh

Amendments—attacks longstanding features of the Commission’s

structure that are supported by decades of precedent. Because, as the

district court correctly observed, “each of Meta’s claims is foreclosed by

binding precedent” (A718), an injunction pending appeal is

unwarranted.

                             BACKGROUND

I.   Legal Background

     Congress charged the Commission with halting “unfair or

deceptive acts or practices in or affecting commerce.” 15 U.S.C. § 45(a).

To that end, the Commission is authorized to initiate administrative

proceedings that can result in final orders commanding a respondent “to

cease and desist from” a practice determined to be unfair or deceptive.




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Id. § 45(b). The Attorney General can bring a civil action for sanctions

against a party who has violated a final Commission order. Id. § 45(l).

      The Commission is authorized to “modify” a final order, including

to impose more stringent requirements, if “conditions of fact or of law

have so changed as to require such action or if the public interest shall

so require.” 15 U.S.C. § 45(b). Before modifying an administrative

order, the Commission provides “notice and opportunity for hearing,”

id., via “an order to show cause, stating the changes it proposes to

make” and “the reasons they are deemed necessary,” 16 C.F.R.

§ 3.72(b)(1). No modification is implemented before the respondent has

the opportunity to respond. Id. So long as the response “raise[s]

substantial factual issues,” the Commission provides for appropriate

hearings, such as an evidentiary hearing before an administrative law

judge. Id. § 3.72(b)(2). If the administrative proceeding culminates in a

final Commission decision modifying the order, the respondent may

seek judicial review in a court of appeals. See 15 U.S.C. § 45(b), (c).

II.   Factual Background and Prior Proceedings

      1. In 2011, the Commission issued an administrative complaint

against Meta (then called Facebook), alleging that it misled users



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regarding the privacy protections on its social media platform. A702.

That proceeding led to a settlement that was implemented through a

Commission order (the 2012 Order) that required Meta to implement

certain changes to its privacy practices. A702-03.

     In 2018, the Commission commenced an investigation into

whether Meta had violated the 2012 Order. A703. The parties

ultimately reached another settlement, under which Meta agreed to pay

$5 billion and to consent to reopening the 2012 Order for the purpose of

making certain modifications. A704. To implement the settlement, the

Department of Justice initiated a civil action against Meta in the

District Court for the District of Columbia, seeking monetary penalties

and injunctive relief, and then moved with Meta’s consent for entry of a

stipulated order imposing the terms the parties had agreed upon.

A704. The matter was assigned to Judge Kelly, who entered the

stipulated order. A704. The Commission subsequently reopened its

administrative proceeding and issued a new order (the 2020 Order),

containing the modifications to which Meta had consented. A704.

     Among other things, the 2020 Order required Meta to hire an

independent assessor to conduct privacy reviews. A705. In 2021,



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Meta’s assessor produced an initial report, finding gaps and weaknesses

in Meta’s privacy practices. A705. In the wake of these findings,

Commission staff initiated an investigation that ultimately led the

Commission to issue an Order to Show Cause why it should not make

certain modifications to the 2020 Order. A706. The Order to Show

Cause identified evidence that Meta: (1) failed to implement an effective

privacy program; (2) misrepresented third-party information sharing;

and (3) misrepresented privacy protections in a children’s application.

A705-06. Consistent with Commission rules, Meta was given 30 days to

file a response.

      2. Instead of engaging with the concerns identified in the Order to

Show Cause, Meta has pursued two separate district court proceedings

challenging the Commission’s authority to modify the 2020 Order.

      a. First, Meta returned to Judge Kelly, arguing that under the

terms of the stipulated order, Judge Kelly had retained exclusive

jurisdiction to modify the Commission’s 2020 Order. A706. In

November 2023, Judge Kelly rejected that contention, concluding that

the Commission retained its authority to modify the 2020 Order. A706-

07.



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      Meta appealed to this Court and filed a motion for an injunction

pending appeal. A motions panel denied Meta’s motion, concluding that

Meta had not demonstrated any of the prerequisites to injunctive relief,

including the need to show irreparable harm. See Facebook Order. The

Court emphasized that the Commission’s Order to Show Cause “asserts

reason to believe that, among other things, [Meta] failed to establish

and implement an effective privacy program as mandated” by the 2020

Order, and that the Commission’s “concerns implicate important public

interests.” Facebook Order 2.

      b. Meta also separately filed this suit, alleging that the

Commission’s proceeding should be enjoined under a slew of

constitutional theories. Meta moved for a preliminary injunction and

the Commission cross-moved to dismiss for failure to state a viable

claim.

      The district court denied Meta’s motion. A740.1 The court

observed that Meta’s motion “asks the Court to treat a host of




      1 While the court described the Commission’s arguments for

dismissal as “overwhelming,” it denied the Commission’s cross-motion
without prejudice “out of an abundance of caution,” pending disposition
of SEC v. Jarkesy, 143 S. Ct. 2688 (2023). A739.

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controlling Supreme Court precedents as ‘obsolete,’” and “despite

binding D.C. Circuit precedent to the contrary, to treat all alleged

‘structural’ constitutional claims . . . as per se irreparable.” A695.

Accordingly, Meta “failed to carry its substantial burden of showing

that it is entitled to extraordinary, equitable relief.” A695.

      With respect to irreparable harm, the court noted this Court’s

conclusion that “the expense and annoyance of litigation, including in

an FTC proceeding, does not constitute irreparable injury.” A709

(quoting Facebook Order 1). Nor did Meta’s assertion that it would be

“forced to participate in ‘an illegitimate proceeding, led by an

illegitimate decision-maker’” materially alter the analysis. A710. The

court rejected Meta’s reliance on Axon Enterprises, Inc. v. FTC, 598 U.S.

175 (2023), concluding that while Axon recognized that certain

structural constitutional challenges may be brought before the

conclusion of an administrative proceeding, that case “had nothing to do

with whether and when courts should grant preliminary injunctive

relief.” A714.

      The district court also found that “the motion fails for a second

reason as well: far from establishing a likelihood of success on the



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merits, each of Meta’s claims is foreclosed by binding precedent.” A718.

First, Meta’s argument that FTC Commissioners are unconstitutionally

protected by a for-cause removal requirement “is squarely foreclosed” by

the Supreme Court’s decision in Humphrey’s Executor v. United States,

295 U.S. 602, 629 (1935). A721-24.

      Second, Meta’s contention that the Commission could not, in

compliance with constitutional requirements, both “initiate or reopen”

and “decide[]” administrative enforcement proceedings “run[s] head-on

into controlling Supreme Court precedent to the contrary.” A724-25

(quotation marks omitted) (citing Withrow v. Larkin, 421 U.S. 35

(1975)). And though Meta alleged pervasive bias, Meta was “unable to

back up this assertion with support.” A727.

      Third, the district court concluded that an FTC modification

proceeding is not the type of action that can be heard only in an Article

III court. Such an action—being “between the FTC, a government

agency, and Meta, a party ‘subject to [FTC] authority,’” A731 (alteration

in original) (quoting Oil States Energy Servs., LLC v. Greene’s Energy

Grp., LLC, 584 U.S. 325, 334 (2018))—falls within Article III’s exception

for proceedings adjudicating public rights. A729-30.



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      Fourth, recognizing that “Supreme Court precedent establishes

that” there is no jury trial right “when Congress properly assigns a

matter to adjudication in a non-Article III tribunal,” the district court

rejected Meta’s Seventh Amendment claim as necessarily failing upon

rejection of the Article III claim. A734 (quoting Oil States Energy, 584

U.S. at 345).

      Fifth, and finally, “[b]ecause the decision of how to enforce the law

is a quintessential exercise of executive authority, see U.S. Const., Art.

II, § 3,” the district court concluded that “Congress cannot have

impermissibly delegated its legislative power when it gave the FTC a

choice of two different mechanisms, one administrative and the other

judicial, to enforce its cease-and-desist orders.” A736 (citing Buckley v.

Valeo, 424 U.S. 1, 138 (1976)).

      Having concluded that Meta would not suffer irreparable harm

absent an injunction and was not likely to succeed on the merits, the

district court also pointed out that the balance of harms and the public

interest weighed against entry of an injunction. It recognized that, “if

the FTC’s allegations in its [Order to Show Cause] are proven correct,




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the allegations against Meta are such that it would be in the public

interest for the modification proceeding to move forward.” A739.

      3. At a hearing following its denial of Meta’s motion for a

preliminary injunction, the district court stated that it would deny any

motion for an injunction pending appeal. A744; see Fed. R. App. P. 8(a).

                              ARGUMENT

      Meta seeks an injunction pending appeal that would bar the

Commission from determining whether Meta failed to implement

effective privacy protections and, relatedly, whether it would serve the

public interest to modify the 2020 Order to incorporate additional

protections for Meta’s customers.

      An injunction pending appeal is an “extraordinary remedy.”

Brotherhood of Ry. & S.S. Clerks, Freight Handlers, Express & Station

Emp. v. National Mediation Bd., 374 F.2d 269, 275 (D.C. Cir. 1966) (per

curiam). To obtain an injunction, Meta must demonstrate (1) it is likely

to succeed on the merits; (2) an injunction will prevent irreparable

harm; and (3) the harm is not outweighed by harm to third parties and

the public interest. Winter v. National Res. Def. Council, 555 U.S. 7, 20




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(2008). Because Meta cannot prevail on any, let alone all, of these

factors, it is not entitled to an injunction pending appeal.

I.    Meta Cannot Show It Will Suffer Irreparable Harm Absent
      An Injunction.

      Meta asserts that it will suffer irreparable harm if it is required to

appear before the Commission and respond to the Order to Show Cause.

But this Court has previously declined to enjoin that very same

proceeding, concluding that Meta “ha[d] not met the ‘high standard for

irreparable injury.’” Facebook Order 1 (quoting Mexichem Specialty

Resins, Inc. v. EPA, 787 F.3d 544, 555 (D.C. Cir. 2015)). As the Court

explained, “the expense and annoyance of litigation, including in an

FTC proceeding, does not constitute irreparable injury.” Id. (citing FTC

v. Standard Oil Co. of Cal., 449 U.S. 232, 244 (1980)).

      In denying Meta’s motion for a preliminary injunction, the district

court recognized that Meta’s arguments regarding injury in that prior

case “overlap in significant respects” with its arguments here. A710.

While Meta asserted different legal theories in the two proceedings, its

core contention regarding irreparable harm remains the same: that the

FTC lacks authority to carry out the modification proceeding and that

the company would be irreparably injured by appearing before the


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Commission. Accordingly, Meta’s present motion should fail for the

same reason as its prior motion.

      Meta insists that its assertion of structural constitutional

challenges to the Commission’s authority inherently satisfies the

irreparable-harm requirement. Mot. 5-6, 20-22. But this Court has

squarely rejected that premise, holding in the course of denying a

motion for an injunction pending appeal that “the ‘violation of

separation of powers’ by itself is not invariably an irreparable injury.”

John Doe Co. v. Consumer Fin. Prot. Bureau, 849 F.3d 1129, 1135 (D.C.

Cir. 2017) (per curiam).

      Meta asserts that Axon Enterprises, Inc. v. FTC, 598 U.S. 175

(2023), established a contrary rule. But Axon is a jurisdictional holding

that “merely recognizes that being subject to an agency’s

unconstitutional exercise of authority constitutes a present injury.”

A713. The Axon Court had no cause to address the standard for

injunctive relief, and nothing in its opinion suggests that every plausible

allegation of a “here-and-now” injury, Axon, 598 U.S. at 192, meets the

high standard for irreparable harm. Accord Morgan Drexen, Inc. v.

Consumer Fin. Prot. Bureau, 785 F.3d 684, 694 (D.C. Cir. 2015)



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(identifying another instance where the Supreme Court “resolved its

jurisdiction to hear a [structural] constitutional challenge” but “had no

occasion to address a federal court’s exercise of equitable discretion to

deny injunctive . . . relief”). Indeed, any holding that an agency must

“be stopped in its tracks” whenever a plaintiff alleges a structural

constitutional flaw would “ignore[] traditional constraints on

separation-of-powers remedies.” John Doe Co., 849 F.3d at 1133. A

plaintiff may, in some circumstances, be able to allege additional harms

that rise to the level of irreparable injury. See, e.g., Alpine Sec. Corp. v.

Financial Indus. Regulatory Auth., No. 23-5129, 2023 WL 4703307, at

*1 (D.C. Cir. July 5, 2023) (Walker, J., concurring) (explaining that a

company’s plausible allegations that “the ongoing [agency] enforcement

proceedings would put it out of business” constituted irreparable harm).

But a separation-of-powers claim is not, on its own, dispositive. And

because Meta, unlike the Alpine plaintiff, has offered nothing beyond

the bare assertion of a structural challenge, it has failed to establish

irreparable harm.2


      2 Even if the Court believes that John Doe is in tension with Axon,

this Court adheres to circuit precedent except where intervening
Supreme Court authority “effectively overruled or eviscerated” circuit

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II.   Meta Is Not Likely To Succeed On The Merits.

      Meta also fails to show that it is likely to succeed on the merits of

any of its five claims.

      A.    Meta fails to show a due process violation.

      1. Meta’s lead contention is that the Commission impermissibly

exercises both prosecutorial and judicial functions, in purported

violation of Meta’s right to due process. But the Commission’s

longstanding structure, which is common to many agencies, comports

with established constitutional principles. Indeed, Meta acknowledges

(Mot. 10), “the combination of investigative and adjudicative functions

does not, without more, constitute a due process violation.” Withrow v.

Larkin, 421 U.S. 35, 58 (1975). Moreover, agency proceedings are

entitled to a “presumption of honesty and integrity in those serving as

adjudicators.” Id. at 47. Accordingly, the Fifth Circuit recently

concluded, in accordance with the district court here, that a due process




law. Bahlul v. United States, 77 F.4th 918, 926 (D.C. Cir. 2023).
Because Axon is only a jurisdictional holding that does not even
mention irreparable harm, it cannot satisfy that high bar here.

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challenge to “the FTC’s structural design” is “barred by precedent.”

Illumina, Inc. v. FTC, 88 F.4th 1036, 1047 (5th Cir. 2023).

      Meta argues that it can make a sufficient showing of structural

bias by pointing to the Commission’s allegedly high win rate in

administrative proceedings. But it is not true that the Commission has

“not los[t] a single administrative case in the past quarter-century.”

Mot. 11-12. As the district court recognized, one study shows that, as of

2016, the Commission ended up dismissing more than a quarter of

administrative cases before it, including dismissing 16% of cases on the

merits. A728 (citing Maureen K. Ohlhausen, Administrative Litigation

at the FTC: Effective Tool for Developing the Law or Rubber Stamp?, 12

J. Competition L. & Econ. 623, 626 (2016)). Even were that not the

case, courts—including this one—have repeatedly rejected statistics

about outcomes as evidence of bias. Southern Pac. Commc’ns Co. v.

American Tel. & Tel. Co., 740 F.2d 980, 995 (D.C. Cir. 1984) (“We

conclude that the statistical one-sidedness of the trial court’s

evidentiary, factual and legal rulings simply cannot be used to support

an inference of judicial bias.”); see also Singh v. Garland, 20 F.4th 1049,

1055 (5th Cir. 2021). And as the district court cogently observed, “it is



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equally plausible that a high win-rate is a product of caution and due

diligence on the FTC’s part in deciding which discretionary enforcement

actions to bring.” A729.3

      Meta falls equally short in invoking a purported public perception

of bias. Meta’s allegations here bear no resemblance to the

circumstances under which courts have found a sufficiently “significant

risk of actual bias” to trigger due process concerns in the absence of a

finding of actual prejudgment, which requires at least “evidence”

casting doubt on the adjudicator’s impartiality. Wildberger v. American

Fed'n of Gov't Emps., 86 F.3d 1188, 1196 (D.C. Cir. 1996). Nothing

about the Commission’s operations presents “special facts and

circumstances” that would warrant departure from the normal rule that

the fact the same agency makes the “initial charge or determination of

probable cause and the ultimate adjudication . . . does not result in a




      3 Contrary to Meta’s assertion, the Commission did not concede

before the Ninth Circuit that it has a 100% win rate in administrative
proceedings. See Mot. 11-12 (discussing Axon Enterprises, Inc. v. FTC,
986 F.3d 1173 (9th Cir. 2021), rev’d. on other grounds, 598 U.S. 175).
Because that appeal concerned only a threshold jurisdictional question,
the Commission merely chose not to engage with various assertions the
plaintiff had made that went only to the merits of the underlying due
process claim.

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procedural due process violation.” Withrow, 421 U.S. at 58. If Meta

were correct that a due process problem arises anytime a segment of the

public nonetheless believes this design creates an inherent risk of bias,

that rule would effectively abrogate Withrow.

      2. Meta also argues that the Commission has exhibited bias in

Meta’s own case. Mot. 13-16. As a threshold matter, this Court should

not consider that contention. Meta’s ability to bring a jurisdictionally

sound challenge to an ongoing Commission proceeding depends on its

ability to invoke a limited exception to the normal rule that judicial

review is unavailable until a Commission proceeding has culminated in

a final order. Standard Oil Co., 449 U.S. at 244. That exception is

limited to constitutional challenges that “object to the Commission[’s]

power generally,” not its application in a particular case. Axon, 598

U.S. at 193; see also Loma Linda-Inland Consortium for Healthcare

Educ. v. National Labor Relations Bd., No. 23-5096, 2023 WL 7294839,

at *11 (D.C. Cir. May 25, 2023) (per curiam).

      In any event, Meta fails to identify any plausible evidence of bias

in the Commission’s Order to Show Cause. As the district court rightly

explained, that the Commission has investigated and identified



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concerns regarding Meta’s conduct and compliance with the existing

orders does not imply that the outcome of the modification proceeding is

preordained. A726; see Hortonville Joint Sch. Dist. No. 1 v. Hortonville

Educ. Ass’n, 426 U.S. 482, 493 (1976) (“Mere familiarity with the facts

of a case gained by an agency in the performance of its statutory role

does not[] . . . disqualify a decisionmaker.”); FTC v. Cement Inst., 333

U.S. 683, 702 (1948). To the contrary, that statement of the

Commission’s initial view of the facts is designed to give Meta notice of

the reasons why the existing order may need to be modified and

explicitly states that the Commission only “proposes modifying the

[2020] Order” in the specified ways. A131 (emphasis added); see 15

U.S.C. § 45(b) (requiring notice and opportunity for hearing before

modification); 16 C.F.R. § 3.72(b)(1) (prescribing the requirements for a

show-cause order and providing an opportunity for a response). Only

after consideration of any answer Meta files, and “process . . .

appropriate to resolve any issues that arise from that Answer,” will the

Commission “determine whether to make the . . . Proposed Decision and

Order final or modify it in any way.” A120. Nothing in that language

forecloses the possibility that, after full consideration, the Commission



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may choose to impose no modifications at all. Cf. Mot. 15. And Meta’s

assertion notwithstanding (Mot. 14), the Commission does not exceed

its proper function when it exercises its statutory authority to consider

whether one of its own orders should be modified in light of evidence

suggesting continuing violations by Meta. See 15 U.S.C. § 45(b).

      B.   Meta’s Article II claim is squarely foreclosed by
           precedent.

      Meta alleges that the FTC Commissioners’ removal protections

impermissibly insulate them from Presidential control in contravention

of Article II. See Mot. 16-17 (citing 15 U.S.C. § 41). But the Supreme

Court rejected an identical challenge in Humphrey’s Executor v. United

States, 295 U.S. 602 (1935). Meta contends that Humphrey’s Executor

has been overtaken, but the Supreme Court has repeatedly declined to

overrule that decision. See Seila Law LLC v. Consumer Fin. Prot.

Bureau, 140 S. Ct. 2183, 2199-2200 (2020); see also Collins v. Yellen,

141 S. Ct. 1761, 1783 (2021). Meta insists that changes in the

Commission’s authorities have rendered Humphrey’s Executor

inapplicable to the very same statute upheld in that case. But “the

question of whether the FTC’s authority has changed so fundamentally

as to render Humphrey's Executor no longer binding is for the Supreme


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Court” alone. Illumina, 88 F.4th at 1047. Meta fails to show that it

would be appropriate to treat a Supreme Court decision as a dead letter

when that Court has declined to overrule it.

      C.   Meta’s Article III and Seventh Amendment claims fail.

      Meta’s claims under Article III and the Seventh Amendment

suffer from a common flaw: because this case involves the adjudication

of public rights, not private ones, there is no constitutional bar to the

Commission proceeding in an administrative forum.

      When, as here, “the Government sues in its sovereign capacity to

enforce public rights created by statutes within the power of Congress

to enact,” Atlas Roofing Co. v. Occupational Safety & Health Review

Comm’n, 430 U.S. 442, 450 (1977), it need not do so in an Article III

court. A730-31. “The FTC Act created a new legal duty, for the benefit

of the public at-large, that was unknown to the common law, because it

‘prevent[s]’ business[es] from using unfair or deceptive acts or practices,

15 U.S.C. § 45(a)(2), before those practices result in harm to

consumers.” A733 (first alteration in original) (citation omitted)

(quotation marks omitted). Administrative proceedings to enforce those




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duties accordingly do not violate Article III. Atlas Roofing, 430 U.S. at

444, 459.

      Because claims under the FTC Act can be properly adjudicated in

an administrative forum, it follows that Meta’s Seventh Amendment

claim also fails. A734. “[W]hen Congress properly assigns a matter to

adjudication in a non-Article III tribunal, ‘the Seventh Amendment

poses no independent bar to the adjudication of that action by a nonjury

factfinder.’” Oil States Energy Servs, LLC v. Greene’s Energy Grp, LLC,

584 U.S. 325, 345 (2018) (quoting Granfinanciera, S.A. v. Nordberg, 492

U.S. 33, 53-54 (1989)). Moreover, Meta’s Seventh Amendment claim

suffers from the additional flaw that the only remedies available in a

Commission proceeding are injunctive in nature and would not trigger

the right to a jury trial, even in an action in court. See A733 (explaining

that the Commission cannot impose monetary sanctions

administratively).

      Meta’s attempt (Mot. 19-20) to reframe its duties as contractual

obligations fall flat. Although the terms of the 2020 Order resulted

from a negotiated settlement, the Order itself is neither a settlement

nor a contract—it is an order. And the Commission’s authority to



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modify the 2020 Order—after following the required procedures—flows

from the Commission’s statutory authority, see 15 U.S.C. § 45(b), not

from any settlement provision.

      D.   Meta’s Article I claim is meritless.

      Meta contends that Congress has impermissibly delegated

legislative authority to the Commission, in violation of Article I, by

granting it discretion to enforce the 2020 Order either through an

administrative proceeding for modification, or through an action in

court for sanctions. But the election of whether and how to enforce the

law is an exercise of executive—not legislative—power. See Buckley v.

Valeo, 424 U.S. 1, 138 (1976) (explaining that the executive

“enforcement power” includes “discretionary power to seek judicial

relief”); A734-38.

      This case is also distinguishable from the Fifth Circuit’s holding in

Jarkesy v. SEC, 34 F.4th 446 (5th Cir. 2022), cert. granted, 143 S. Ct.

2688 (2023), which found a non-delegation violation where the

Securities and Exchange Commission had discretion whether to seek

monetary penalties in court (where the defendant would have a right to

a jury) or administratively (where it would not). Even were Jarkesy



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persuasive, and it is not, see, e.g., A736 n.9, the Commission can obtain

monetary penalties only in court. See, e.g., 15 U.S.C. 45(l). An

administrative action can result only in a modified order that imposes

new prospective duties to protect consumers, not a retrospective

sanction.

III. The Balance Of The Equities And Public Interest Favor
     Allowing The Commission’s Administrative Proceedings To
     Continue.

      The remaining factors confirm that injunctive relief is

unwarranted. A panel of this Court has already recognized the

Commission’s substantial interest in being able to decide whether Meta

“failed to establish and implement an effective privacy program as

mandated by the 2020 FTC order.” Facebook Order 2. The Order to

Show Cause explains that the Commission has good reason to believe

Meta’s privacy practices continue to put consumers’ privacy at risk and

that modifications to the 2020 Order would help to address those risks.

See A738. While the company seeks to cast doubt on the Commission’s

timeliness (Mot. 24), the Commission should not be faulted for its

thorough investigation or for providing the district courts with the

opportunity for orderly consideration of Meta’s preemptive suits, and it



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is Meta that must justify any further delay in the Commission

proceedings. Ultimately, “if the FTC’s allegations in its [Order to Show

Cause] are proven correct,” those allegations “are such that it would be

in the public interest for the modification proceeding to move forward.”

A739. Meta fails to establish the kind of “certain and great” harm,

Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C.

Cir. 2006), capable of overcoming the serious public interests at stake

here.

                              CONCLUSION

        For the foregoing reasons, Meta’s motion should be denied.




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           Dated: March 21, 2024

                                   Respectfully Submitted,

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                   CERTIFICATE OF COMPLIANCE

        I hereby certify that the foregoing response complies with the

requirements of Federal Rule of Appellate Procedure 27(d) because it has

been prepared in 14-point Century Schoolbook, a proportionally spaced

font.

        I further certify that this response complies with the type-volume

limitation of Federal Rule of Appellate Procedure 27(d)(2) because it

contains 4,667 words, excluding parts of the brief exempted by Federal

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according to the word count of Microsoft Word.

                                          /s/ Anna M. Stapleton
                                          Anna M. Stapleton
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                     CERTIFICATE OF SERVICE

      I hereby certify that on March 21, 2024, I electronically filed the

foregoing with the Clerk of the Court by using the appellate CM/ECF

system. Service will be accomplished by the appellate CM/ECF system.

                                         /s/ Anna M. Stapleton
                                         Anna M. Stapleton
